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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

MICHIGAN DEPARTMENT OF
ENVIRONMENTAL QUALITY,
                                          No. 1:18-cv-00039-JTN-ESC
      Plaintiff,
                                          HON. JANET T. NEFF
v.
                                          MAG. ELLEN S. CARMODY
WOLVERINE WORLD WIDE, INC.,

      Defendant.

and

PLAINFIELD CHARTER TOWNSHIP
and ALGOMA TOWNSHIP,

      Intervening Plaintiffs,

v.

WOLVERINE WORLD WIDE, INC.,

      Defendant.
                                      /

Polly A. Synk (P63473)                    John V. Byl (P35701)
Brian J. Negele (P41846)                  Madelaine C. Lane (P71294)
Danielle Allison-Yokom (P70950)           Janet L. Ramsey (P63285)
Assistant Attorneys General               James Moskal (P41885)
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                                       /

              STIPULATION REGARDING PROPOSED ORDER

      Plaintiff Michigan Department of Environmental Quality (MDEQ), Plaintiff -

Intervenors Plainfield Charter Township and Algoma Township, and Defendant

Wolverine World Wide, Inc. stipulate that the deadline for Wolverine to answer the

DEQ’s Complaint and the Townships’ Complaint is extended 70 days from October

12, 2018, to December 21, 2018, to allow the parties additional time to continue

negotiating the terms of a consent decree and focus on settlement discussions.

      Accordingly, IT IS ORDERED THAT Wolverine’s deadline to answer or

otherwise respond to the DEQ’s Complaint and the Townships’ Complaint is

extended to December 21, 2018.

      IT IS SO ORDERED.

                1 2018
Dated: October ___,                               /s/ Janet T. Neff
                                               __________________________________
                                               THE HONORABLE JANET T. NEFF
                                               United States District Court Judge




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STIPULATED AS TO FORM:


 /s/ Danielle Allison-Yokom                                  /s/ R. Michael Azzi
 Polly A. Synk (P63473)                                      (with permission)
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                                                             World Wide, Inc.
 /s/ Douglas W. Van Essen
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 Plainfield Charter Township and
 Algoma Township
LF: Wolverine World Wide, Inc. (MDEQ)/AG# 2018-0205144-B/Stipulation – for Proposed Order (December) 2018-09-28




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